      Case 2:21-cv-00131 Document 145 Filed on 01/11/22 in TXSD Page 1 of 7




                      IN THE UNITED STATES DISTRICT COURT
                        FOR SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


 DIAGNOSTIC AFFILIATES OF                        )
 NORTHEAST HOU, LLC D/B/A                        )
 24 HOUR COVIDRT-PCR                             )
 LABORATORY                                      )
                                                 )
                          Plaintiff,             )   Civil Action No. 2:21-cv-00131
                                                 )
 v.                                              )
                                                 )
 UNITED HEALTH GROUP, INC., et al.,              )
                                                 )
                          Defendants.            )
                                                 )
                                                 )
 ________________________________                )
                                                 )

               DEFENDANT SWISSPORT NORTH AMERICAN HOLDING, INC.
                HEALTH & WELFARE PLAN’S MOTION TO DISMISS


TO THE HONORABLE JUDGE OF SAID COURT:

        DEFENDANT SWISSPORT NORTH AMERICAN HOLDING, INC. HEALTH &

WELFARE PLAN (the “Swissport Plan”), pursuant to Federal Rule of Civil Procedure 12(b)(6),

file this Motion to Dismiss Counts I, II, and III of the Amended Complaint and Brief in Support,

and for same would show unto the Court as follows:

                                             I.
                                        BACKGROUND

        PLAINTIFF DIAGNOSTIC AFFILIATES OF NORTHEAST HOU, LLC D/B/A 24

HOUR COVIDRT-PCR LABORATORY (“Diagnostics”) has filed suit against the Swissport Plan

(and others) alleging claims under the Families First Coronavirus Response Act (“FFCRA”), the

Coronavirus Aid, Relief, Economic Security Act (the “CARES Act”), and Employee Retirement



7974013v.2
     Case 2:21-cv-00131 Document 145 Filed on 01/11/22 in TXSD Page 2 of 7




Income Security Act of 1974, 29 U.S.C. § 1101 et seq. (“ERISA”). The three claims in the

Amended Complaint asserted against the Swissport Plan are: Count I – Violation of the FFCRA

and the CARES ACT; Count II – Violation of Section 502(a)(1)(B) of ERISA; and Count III –

Denial of Full and Fair Review under ERISA. See (Dkt No. 2, ¶¶188-224)

                                               II.
                                            SUMMARY

               Diagnostics has failed to state any claims for relief against the Swissport Plan for

two basic reasons. Count I fails to state a claim because neither the FFCRA nor the CARES act

provide for a private right of action, which prevents Diagnostics from stating a cognizable claim.

Counts II and III likewise fail because Diagnostics has not sufficiently plead that it has standing

to sue under ERISA. All three claims must therefore be dismissed.


                                             III.
                                   RULE 12(b)(6) STANDARD

               The court should dismiss a claim where the party fails to state a claim upon which

relief can be granted. FED. R. CIV. P. 12(b)(6). The complaint must allege “enough facts to state

a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 547 (2007).

Conclusory statements need not be taken as true, and the facts that are plead must be sufficient to

permit the Court to draw a reasonable inference that the defendant is liable for the misconduct

alleged. Twombly, 550 U.S. at 555-566; Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The core

objective when reviewing the sufficiency of a complaint is to determine whether the plaintiff has

stated a legally cognizable claim that is plausible.” Jones v. United States Postal Serv., 690 F.

App'x 147, 149 (5th Cir. 2017). In addition, although a complaint need not contain detailed factual

allegations, it must set forth “more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Twombly, 550 U.S. at 547.

DEFENDANT SWISSPORT NORTH AMERICAN HOLDING, INC.
HEALTH & WELFARE PLAN’S MOTION TO DISMISS                                                     PAGE 2
     Case 2:21-cv-00131 Document 145 Filed on 01/11/22 in TXSD Page 3 of 7




                                         IV.
                              ARGUMENTS AND AUTHORITIES

       A.           There is No Private Right of Action under the FFCRA or the CARES Act

       Count I of the Amended Complaint does not state a “legally cognizable claim that is

plausible” because it alleges that the Swissport Plan and all other named defendants violated the

FFCRA and the CARES Act by failing to pay Plaintiff the posted price for COVID-19 diagnostic

testing. (Dkt. No. 2, ¶¶188-196). This Court knows that to state a plausible claim under a federal

statute, “there must first be a private right of action.” See Haley v. Citibank N.A., No. CIV.A. 11-

03522, 2012 WL 2403501, at *2 (S.D. Tex. June 25, 2012) (“To state a plausible claim under the

FCRA, there must first be a private right of action”).

       In this case, Plaintiff did not, and cannot, identify a private of action in the FFCRA or the

CARES Act, which is why the Amended Complaint is barren of any such allegation. In fact,

enforcement of the FFCRA and CARES Act is entrusted exclusively to the Secretary of Health and

Human Services, the Secretary of Labor, and the Secretary of the Treasury. Pub. L. No. 116-136,

134 Stat. 281; Pub. L. No. 116-127, 134 Stat. 178. Nothing in either law expressly creates a private

cause of action to enforce the sections of the FFCRA or the CARES Act that Plaintiff invokes, and

in the Fifth Circuit, courts “begin with the standard presumption that Congress did not intend to

create a private right of action.” See Lundeen v. Mineta, 291 F.3d 300, 311 (5th Cir. 2002) (“The

plaintiff generally bears the relatively heavy burden of demonstrating that Congress affirmatively

contemplated private enforcement when it passed the relevant statute”). It is long-settled that

“absent ‘affirmative’ evidence of intent to allow private civil suits, there can be no private right of

action—‘no matter how desirable that might be as a policy matter, or how compatible with the




DEFENDANT SWISSPORT NORTH AMERICAN HOLDING, INC.
HEALTH & WELFARE PLAN’S MOTION TO DISMISS                                                     PAGE 3
     Case 2:21-cv-00131 Document 145 Filed on 01/11/22 in TXSD Page 4 of 7




statute.’” Stokes v. Sw. Airlines, 887 F.3d 199, 202 (5th Cir. 2018) (citing Alexander v. Sandoval,

532 U.S. 275, 287 (2001)).

       “Private rights of action to enforce federal law must be created by Congress.” Alexander,

532 U.S. at 286. Neither statute expressly creates a private cause of action to enforce Section 6001

of the FFCRA or Section 3201 of the CARES Act. The fact that Congress empowered

administrative enforcement of Section 6001 of the FFCRA and Section 3201 of the CARES Act

“‘tends to contradict a congressional intent to create privately enforceable rights . . . The express

provision of one method of enforcing a substantive rule suggests that Congress intended to

preclude others.” Juan Antonio Sanchez, PC v. Bank of S. Tex., 494 F. Supp. 3d 421, 434 (S.D.

Tex. 2020) (quoting Alexander, 532 U.S. at 290); Acara v. Banks, 470 F.3d 569 (5th Cir. 2006)

(specific delegation of enforcement power to administrative agency creates a “strong indication

that Congress intended to preclude private enforcement”). See also Juan Antonio Sanchez, PC v.

Bank of S. Texas, 494 F. Supp. 3d 421, 438–39 (S.D. Tex. 2020) (“[I]in the absence of any private

right of action under the CARES Act, the Court agrees with Defendants that Plaintiff fails to state

a claim upon which relief can be granted for an alleged violation of the CARES Act. . . .”1 In sum,

no private right of action, no standing. Without a Congressionally created private claim for relief,

which the FFCRA and CARES indisputably lack, Count I of the Amended Complaint should be

dismissed.




1
  Other courts agree with the Southern District that is there not an implied private right of action
to enforce Section 6001 of the FFCRA or Section 3201 of the CARES Act. See, e.g., Am. Video
Duplicating, Inc. v. City Nat’l Bank, No. 2:20-CV-04036, 2020 WL 6882735, at *5 (C.D. Cal.
Nov. 20, 2020) (listing cases) (“Unsurprisingly, every court to address whether the CARES Act
created an implied private right of action has held that it does not.”); see also Daniel T.A. Cotts
PLLC v. Am. Bank, N.A., No. 2:20-CV-185, 2021 WL 2196636, at *5 (S.D. Tex. Feb. 9, 2021).


DEFENDANT SWISSPORT NORTH AMERICAN HOLDING, INC.
HEALTH & WELFARE PLAN’S MOTION TO DISMISS                                                    PAGE 4
     Case 2:21-cv-00131 Document 145 Filed on 01/11/22 in TXSD Page 5 of 7




        B.      Plaintiff Lacks Standing Under ERISA

        Section 502(a)(1)(B) permits a “participant” or “beneficiary” of an ERISA plan to bring a

civil action “to recover benefits due to him under the terms of his plan, to enforce his rights under

the terms of the plan, or to clarify his rights to future benefits under the terms of the plan.”

Healthcare providers may obtain standing to sue derivatively to enforce an ERISA plan

beneficiary’s claim. Tango Transp. v. Healthcare Fin. Servs. LLC, 322 F.3d 888, 893 (5th Cir.

2003). Typically, this is achieved through a valid assignment of benefits. See, e.g., Innova Hosp.

San Antonio, L.P. v. Blue Cross & Blue Shield of Georgia, Inc., 995 F. Supp. 2d 587, 599 (N.D.

Tex. 2014) (“Accordingly, to state a basis to recover under ERISA or for breach of an insurance

policy, a medical provider must plead that the patients covered under the plan or policy assigned

their rights to the provider.”)

        Here, however, Plaintiff’s Amended Complaint only refers obliquely to “many members”

who have “executed assignment of benefits documents” without enumerating whether those

participants or beneficiaries were, in fact, members of the Swissport Plan. See (Dkt. No. 2, ¶201).

Indeed, Diagnostics appears to rely more on its claimed basis under the FFCRA and CARES Act

that the need for any such assignment is “obviated.” (Dkt. No. 2, ¶202). But because neither the

FFCRA nor CARES Act did away with ERISA’s prerequisites for standing, or abrogated the Fifth

Circuit’s continuing requirements of a valid assignment, Diagnostics Count II fails.

        Additionally, neither the FFCRA nor the CARES Act incorporate Section 502(a)(1)(B) of

ERISA. Had Congress intended the FFCRA and the CARES Act to amend or incorporate Section

502(a)(1)(B), it would have said so, as it did with the Family and Medical Leave Act, 29 U.S.C. §

2601, et seq., and the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. Without demonstrating

(or at least pleading) that Plaintiff obtained valid, enforceable assignments from every member of


DEFENDANT SWISSPORT NORTH AMERICAN HOLDING, INC.
HEALTH & WELFARE PLAN’S MOTION TO DISMISS                                                    PAGE 5
     Case 2:21-cv-00131 Document 145 Filed on 01/11/22 in TXSD Page 6 of 7




the Swissport Plan on whose behalf it seeks payment of benefits, Diagnostics has no standing

under ERISA to to bring a claim for benefits. See Iqbal, 556 U.S. at 678 (“To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to “state a claim to

relief that is plausible on its face”).

        Consequently, Count III of the Amended Complaint also fails because it relies upon the

same faulty predicate allegation that Diagnostics is entitled to relief because “[a]s assignees and

authorized representatives of its patient’s claims, Plaintiff is entitled to receive protection under

ERISA, including (a) a “full and fair review” of all claims denied by United….” (Dkt. No. 2, ¶214).

However, based on the above authorities, the Court “is not bound to accept as true a legal

conclusion couched as a factual allegation.” See Twombly, 550 U.S. at 555. Accordingly, Count

III fails for the same reason as Count II, and may also be dismissed.

                                               V.
                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Court grant this

Motion to Dismiss and dismiss Plaintiff’s action with prejudice, that Plaintiff take nothing by its

suit against this Defendant; and that the Defendant be granted such other and further relief, both

general and special, at law or in equity, to which it may show itself justly entitled.




DEFENDANT SWISSPORT NORTH AMERICAN HOLDING, INC.
HEALTH & WELFARE PLAN’S MOTION TO DISMISS                                                    PAGE 6
     Case 2:21-cv-00131 Document 145 Filed on 01/11/22 in TXSD Page 7 of 7




Dated: January 11, 2022                              Respectfully submitted,


                                                     /s/ Lara C. de Leon
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                                                     WELFARE PLAN




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of January, 2022, this document was served, via email,
through the Court’s electronic filing system on all attorneys deemed to accept electronic service.


                                                     /s/ Lara C. de Leon
                                                     Lara C. de Leon




DEFENDANT SWISSPORT NORTH AMERICAN HOLDING, INC.
HEALTH & WELFARE PLAN’S MOTION TO DISMISS                                                  PAGE 7
